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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Emoji Company GmbH
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:22−cv−03698
                                                                      Honorable Sharon
                                                                      Johnson Coleman
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 20, 2023:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
held on 1/20/2023. Parties report that they have settled in principle. Case is dismissed
without prejudice for 90 days as to defendant hehhejfusss only. If no motion to reinstate is
filed by April 20, 2023, the dismissal shall automatically convert to one with prejudice
with no further action by the Court. Defendant hehhejfusss' motion to dismiss under Rule
12(b)(2) [59] is withdrawn. Mailed notice. (ym, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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